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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9    HASSAN OSMAN,
10                         Plaintiff,
                                                              NO. C20-697RSL
11                  vs.
12    KC MTD RAIL DIVISION, et al.,                           ORDER OF DISMISSAL FOR
                                                              FAILURE TO PERFECT SERVICE OF
13                         Defendants.                        SUMMONS AND COMPLAINT
14

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           This matter comes before the Court sua sponte. The complaint in this matter was filed on
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     May 13, 2020. To date, plaintiff has failed to perfect service of the summons and complaint
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     upon defendants or to make a timely request for extension of the service date, as required by
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     Fed. R. Civ. P. 4(m). The Court having given Plaintiff notice of this deficiency, hereby
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     DISMISSES the above-captioned complaint without prejudice.
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           IT IS NOW, THEREFORE, ORDERED that this matter be DISMISSED.
21
           DATED this 11th day of January, 2021.
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24                                            A
                                              Robert S. Lasnik
25                                            United States District Judge
26

27
     ORDER OF DISMISSAL FOR FAILURE TO PERFECT SERVICE OF SUMMONS AND
28   COMPLAINT
